          Case 1:21-cr-00119-CJN Document 43 Filed 08/11/21 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CASE NO. 21-cr-119 (CJN)
               v.                            :
                                             :
GARRET MILLER,                               :
                                             :
                      Defendant.             :

                CONSENT MOTION TO CONTINUE ORAL ARGUMENT
        The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, jointly with the Defendant Garret Miller, by and through

his counsel, Clint Broden, Esq., respectfully requests that the Court continue the motions hearing

on defendant’s pretrial motions (ECF Nos. 32, 33, 34) that is currently scheduled on August 24,

2021 at 2:00 p.m. The parties further request that the Court vacate the status hearing that is

scheduled for August 30, 2021. In support, the parties state the following:

   1. On August 10, 2021, the Court scheduled an oral argument on defendant’s pretrial motions

(ECF Nos. 32, 33, 34) for August 24, 2021 at 2:00 p.m.

   2. Counsel for the government is unavailable on August 24 due to pre-approved leave. The

Defendant does not oppose continuing the oral argument.

   3. The parties also request that the Court vacate the status hearing scheduled on August 30,

2021, because any outstanding issues can be resolved at the motions hearing.
          Case 1:21-cr-00119-CJN Document 43 Filed 08/11/21 Page 2 of 2




    4. The parties have conferred and would request the following time for the oral argument:

September 16 at 11:00 a.m. 1

    5. The parties would further request that the record reflect that the defendant’s substantive

pre-trial motions have tolled the Speedy Trial Act as a matter of law until the motions hearing. See

18 U.S.C. § 3161(h)(1)(D).

       WHEREFORE, the parties respectfully request that this Honorable Court (1) continue the

motions hearing in this matter from August 24, 2021, to September 16, 2021, at 11:00 a.m.; (2)

vacate the August 30, 2021 status hearing; and (3) exclude from the calculation of the Speedy Trial

Act the time from June 24, 2021, when the Defendant’s pre-trial motion was filed, to the motions

hearing, pursuant to 18 U.S.C. § 3161(h)(1)(D).


                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793


                                                     ___________________________
                                                     ELIZABETH C. KELLEY
                                                     D.C. Bar No. 1005031
                                                     Assistant United States Attorney
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20001
                                                     (202) 252-7238
                                                     Elizabeth.Kelley@usdoj.gov




1
 Chambers had also indicated by email the following additional times would be available for the
oral argument:

Tuesday, September 14: 10:00 a.m., 10:30 a.m., or 11:00 a.m.
Thursday, September 16: 10:00 a.m., 10:30 a.m., 2:00 p.m., or 2:30 p.m.
Thursday, September 23: 10:00 a.m., 10:30 a.m., 11:00 a.m., 2:00 p.m., or 2:30 p.m.

The parties are also available during these times.
